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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:22-cr-0062 (JMC)
         v.                                   :
                                              :
RAECHEL GENCO,                                :
                                              :
                 Defendant.                   :

                       GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Raechel Genco to 30 days of home confinement, a three-year term of

probation, 60 hours of community service, and $500 in restitution.

    I.        Introduction

         Defendant Raechel Genco participated in the January 6, 2021 attack on the United States

Capitol—a violent attack that forced an interruption of Congress’s certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred police officers, and resulted in more than 2.7 million

dollars in losses. 1



1
  Although the Statement of Offense in this matter, filed on June 24, 2022, (ECF No. 65 at ¶ 6)
reflects a sum of more than $1.4 million dollars for repairs, as of April 5, 2022, the most recent
assessment of loss information revealed the approximate losses suffered as a result of the siege at
the United States Capitol was $2,734,783.15. That amount reflects, among other things, damage
to the United States Capitol building and grounds and certain costs borne by the United States
Capitol Police.


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       Defendant Genco pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(D). As

explained herein, a sentence of 30 days of home confinement, three years of probation, 60 days of

community service, and $500 in restitution is appropriate in this case. Although Genco’s conduct

is not free from aggravating factors, it falls at the lower end of culpability for January 6 cases.

Genco did not enter the Capitol or directly confront law enforcement. She did, however, have the

clearest possible notice that public access to the Capitol grounds was prohibited and nevertheless

followed a crowd that breached barriers to those grounds through a violent confrontation with

police. Through her plea agreement, Genco has accepted responsibility for her actions; however,

she is not in the category of defendants who expressed an early intention to resolve her case, and

to date, Genco has not affirmatively expressed remorse for her conduct.

       The Court must also consider that Genco’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers who trying to prevent a breach of the Capitol Building, and disrupt

the proceedings. See United States v. Thomas Fee, 1:21-cr-00131 (JDB), Tr. 04/01/2022 at 17

(“The defendant was an active participant in a mob assault on our core democratic values and our

cherished institution. And that assault was intended by many and by the mob at large in general to

interfere with an important democratic processes of this country. I cannot ignore that, cannot pull

this misdemeanor out of that context.”) (statement of Judge Bates). The defendant’s actions and

those of her fellow rioters enabled the breach of the Capitol, threatened the lives of the police

officers, legislators and their staffs, and disrupted the certification vote for several hours. See

United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a

mob without the numbers. The people who were committing those violent acts did so because they




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had the safety of numbers.”) (statement of Judge Chutkan). The facts of and circumstances of

Genco’s offense conduct support a sentence of three years’ probation in this case

    II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

          To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 65 (Statement of Offense), at ¶¶ 1-7. As this Court knows, a

riot cannot occur without rioters, and each rioter’s actions—from the most mundane to the most

violent— contributed, directly and indirectly, to the violence and destruction of that day. With that

backdrop we turn to Genco’s conduct and behavior on January 6.

               Defendant Genco’s Role in the January 6, 2021 Attack on the Capitol

          Defendant Genco planned to travel from her home in Pennsylvania to the Save America

rally on the Ellipse with her partner, defendant Ryan Samsel. 2 On January 6, Genco and Samsel

attended the rally, and before its conclusion, they joined a crowd walking towards the U.S. Capitol.

As they walked together, Samsel carried a large flag depicting former president Trump as the film

character “Rambo.”




2
 Samsel is charged with four codefendants in Case No. 21-cr-537 (JMC). He confronts numerous
felony offenses, including assault in violation of 18 U.S.C. § 111(a)(1) and (b), civil disorder, in
violation of 18 U.S.C. § 231(a), entering and remaining in restricted grounds with a deadly or
dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A), disorderly and disruptive
conduct in a restricted area with a deadly or dangerous weapon, in violation of 18 U.S.C. §
1752(a)(2) and (b)(1)(A), engaging in physical violence in a restricted area in violation of 18
U.S.C. § 1752(a)(4) and (b)(1)(A) and (B), and obstruction of justice, in violation of 18 U.S.C §
1512(c)(2). He is also charged with misdemeanors under 40 U.S.C. § 5104(e).
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                             Figure 1




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                                           Figure 2

       By approximately 12:45 p.m., Genco and Samsel joined a large crowd gathered at the Peace

Monument located in a roundabout at Pennsylvania Avenue, N.W. and 1st Street, N.W., commonly

referred to as the Peace Circle. Members of the crowd at the Peace Circle shouted “1776” and

chanted “USA!” Genco and others, with Samsel taking the lead, then moved southeast along the

sidewalk (commonly referred to by U.S. Capitol Police Officers as the Pennsylvania Avenue

walkway) that connects the Peace Circle to the U.S. Capitol building. The crowd walked over

barricades designed to close the sidewalk access to and maintain a buffer zone from the U.S.


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Capitol Grounds perimeter fence line. This fence line was intended to keep the public away from

the Capitol building and the Congressional proceedings underway inside.

       The fence line was manned by uniformed and armed U.S. Capitol Police (“USCP”) officers

and was constructed with metal bike rack barriers, physically linked end to end, and reinforced

with dark plastic mesh safety fencing attached behind the metal bike racks. The fencing clearly

displayed large white “AREA CLOSED” signs with bold red lettering.           As shown in the

photographs below, these signs were visible to Genco. Figure 3 is a screenshot obtained from a

recording in Genco’s phone. In Figure 4, Genco appears beneath a red arrow approaching the

barrier manned by police officers.




                                           Figure 3




                                              6
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And Genco returned the “Rambo” flag to Samsel when he chose to brandish it at MPD officers

like a potential weapon.




                                            Figure 13

Genco remained in the area of the West Front for over an hour before leaving the restricted Capitol

grounds. According to data recovered from Genco’s cellular phone, at 2:35 p.m., Samsel and

Genco recorded themselves standing near the West Front in a celebratory crowd. In the video,

Samsel announces that “We breached the Capitol” and in response, Genco cheers. A screenshot

from the video is shown below.




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                                            Figure 14

 On the morning of January 7, 2021, Genco and Samsel exchanged messages about the attack on

the Capitol, as follows:

       SAMSEL:         Ppl don’t know the usa was founded by ppl like us

                       It was

       GENCO:          And they are out for there own self. What a shame

       SAMSEL:         We got guns and fought them

                       It made world news

                                               15
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          GENCO:       That’s right!!

          SAMSEL:      Just to know I was on the front lines makes me proud I got them moving in

                       I love the horn and ppl screaming charge

                       I wana huge [sic] all of them

          GENCO:       I am proud of you so much and see how much you would sacrifice your life
                       for this country…You are amazing
                                               …

          GENCO:       It was a great experience yesterday and it made me open my eyes and
                       understand more … Just watching you and seeing what you did was
                       absolutely amazing. And I am lucky to have you in my life and love you
                       even more               … Just know if you had to go to war with these
                       people, I will always be by your side and support you all the way through
                       this.

                                   The Charges and Plea Agreement

          On February 12, 2021, the United States charged Raechel Genco by criminal complaint

with violating 18 U.S.C. §§ 1752(a)(1) and (a)(2). ECF 1. On February 27, 2021, law enforcement

officers arrested her in Pennsylvania. ECF 12. On February 28, 2022, the United States charged

Genco in a two-count Information with violating 18 U.S.C. §§ 1752(a)(1) and (a)(2). ECF 53. The

United States filed a one-count Superseding Information on June 24, 2022 charging Genco with

violating 40 U.S.C. § 5104(e)(2)(D). On June 29, 2022, pursuant to a plea agreement, Genco

pleaded guilty to the Superseding Information, charging her with a violation of 40 U.S.C. §

5104(e)(2)(D), which makes it a crime to “utter loud, threatening, or abusive language, or engage

in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings”.

ECF 65, 66. In her plea agreement, Genco agreed to pay $500 in restitution to the Department of

the Treasury. ECF 66:6; PSR ¶¶ 20, 61.

   III.      Statutory Penalties




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         Genco now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(D).

As noted by the plea agreement, Genco faces up to six months of imprisonment, five years of

probation, and a fine of up to $5,000. ECF 66:1. Genco must also pay restitution under the terms

of her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072,

1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines

do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9; PSR ¶ 24.

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of a sentence of 30 days of home

confinement, three years of probation, 60 hours of community service and $500 in restitution.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol, on January 6, 2021 was a crime unparalleled in American

history and defies comparison to other violent riots. It represented a grave threat to our democratic

norms and practices. Indeed, it was the one of the only times in our history when the building was

literally occupied by hostile participants.

         While each defendant must be sentenced based on their own conduct, this Court should

take into account that each person who entered the Capitol on January 6 without authorization did



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so under extreme circumstances. As they entered the Capitol, they very likely crossed through

numerous barriers and barricades and heard the violent outcries of a mob. Depending on the timing

and location of their approach, they also may have observed extensive fighting between the rioters

and police and smelled chemical irritants in the air. No rioter was a mere tourist that day.

       Additionally, while assessing Genco’s individual conduct and fashioning a just sentence,

this Court should look to a number of critical aggravating and mitigating factors, including: (1)

whether, when, and how the defendant entered the Capitol building; (2) whether the defendant

encouraged violence; (3) whether the defendant encouraged property destruction; (4) the

defendant’s reaction to acts of violence or destruction; (5) whether, during or after the riot, the

defendant destroyed evidence; (6) the length of the defendant’s time inside of the building, and

exactly where the defendant traveled; (7) the defendant’s statements in person or on social media;

(8) whether the defendant cooperated with, or ignored commands from police officers; and (9)

whether the defendant demonstrated sincere remorse or contrition. While these factors are not

exhaustive or dispositive, they help to place each defendant on a spectrum as to their fair and just

punishment. Had Genco personally engaged in violence or destruction, she would be facing

additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts on the part of Genco is therefore not a mitigating factor in her misdemeanor case.

       Genco breached the restricted area of the Capitol grounds. She did so with clear knowledge

that she was not supposed to enter the area. If the explicit language on signs in front of Genco

were not a sufficient prohibition against entry (which they were), the presence of barriers,

commands from uniformed and armed USCP officers, the officers’ physical resistance to the

crowd’s attempts to breach the barriers, and the use of violence by the crowd and Genco’s own

partner, provided indisputable notification to Genco that she and others were not supposed to enter



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the Capitol grounds. After the violent breach of barriers on the Pennsylvania Avenue walkway,

Genco, with Samsel’s flag and possessions, proceeded to the Capitol’s West Front. She remained

in that area for over an hour, despite incidents of violence from the mob and the efforts of police

to disperse the crowd with warnings, commands, chemical irritants and non-lethal projectiles.

Genco supported and even celebrated Samsel’s physical altercations and his disruptive and

insulting behavior towards police.

       The nature and the circumstances of this offense, when considered with the factors below,

support a sentence of 30 days of home confinement, three years of probation, 60 hours of

community service, and $500 in restitution in this matter.

           B. The History and Characteristics of Genco

       Genco has no criminal history, and has complied with the terms of her supervision. PSR

¶¶ 8, 25-31; ECF 18, 24, 32, 50, 59, 62. She is a college graduate with a B.A. in Art Therapy.

PSR ¶ 45. She is employed as a scheduler for a medical facility and works part-time at a department

store. PSR ¶¶ 48-49.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 5 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the



5
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C); United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. As noted by Judge

Moss during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [Hodgkins] and others caused that day goes way beyond the several-hour delay in
         the certification. It is a damage that will persist in this country for decades.




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Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Genco’s willingness to trespass into the Capitol grounds immediately after a violent breach

is concerning. So is her willingness to remain in a violent mob at the Capitol’s West Front for

over an hour. Her statement in the aftermath of such activity, describing her partner’s far more

egregious and injurious conduct as a sacrifice he made for his country is disturbing, as is her

statement that if her partner had to go to war with “these people” Genco would remain by his side.

Each of these details gives reason for a sentence that will deter any further misconduct. Here, the

United States submits that a term of home confinement for 30 days and three years of probation

will provide an appropriate measure of deterrence for a defendant who lacks any criminal history,

who has also remained in compliance with all conditions of release, and who appears at the low

end of the range of culpability for the breach of the Capitol.

           E. The Need to Avoid Unwarranted Sentencing Disparities




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       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 6 This

Court must sentence Genco based on her own conduct and relevant characteristics, but should give

substantial weight to the context of her unlawful conduct: her participation in the January 6 riot.

Although those like Genco convicted of misdemeanors are generally less culpable than defendants

convicted of felonies, misdemeanor breaches of the Capitol on January 6, 2021, were not minor

crimes. A probationary sentence should not be the default. 7 See United States v. Anna Morgan-

Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (“I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.”) (statement of Judge

Lamberth at sentencing). Accord, United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr.

9/17/2021 at 13 (statement of Judge Friedman).

       Genco has pleaded guilty to the Superseding Information, charging her with disorderly and

disruptive conduct on the Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2)(D). This offense

is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C misdemeanors and infractions



6
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.
7
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track”
program and those who do not given the “benefits gained by the government when defendants
plead guilty early in criminal proceedings”) (citation omitted).


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are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing Guidelines do not apply, U.S.S.G.

1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply, however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences explain the differing recommendations and

sentences. Avoiding unwarranted disparities requires the courts to consider not only a defendant’s

“records” and “conduct” but other relevant sentencing criteria, such as a defendant’s expression of

remorse or cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365

(D.C. Cir. 2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike

defendant, pleaded guilty and cooperated with the government).

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). Because the

Sentencing Guidelines do not apply here, the sentencing court cannot readily conduct a disparity

analysis against a nationwide sample of cases captured by the Sentencing Guidelines.

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of the legislative

branch of the federal government, the vast size of the mob, the goal of impeding if not preventing



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the peaceful transfer of Presidential power, the use of violence by a substantial number of rioters

against police officers, and the large number of victims. Thus, even though many of defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

        While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the following cases offer points of comparison that may aid this

Court’s analysis. One way to compare Genco to others is to examine other cases where defendants

had, relative to others, lesser participation in the breach of the Capitol.

        For example, in United States v. Sizer, 21-cr-621 (CRC), the government recommended a

sentence of two months’ home detention and 36 months’ probation. Sizer was inside the Capitol

for approximately two minutes. She initially lied to the FBI about her entry, but then cooperated

and was more forthcoming. She did not make any social media posts or have a criminal history.

Sizer received a sentence of 12 months’ probation and a $5,000 fine. The brevity of Sizer’s

presence inside the Capitol makes her case a reasonable comparison to this case, where Genco did

not enter the Capitol at all.

        In United States v. Parks, 21-cr-363-CJN, the government recommended a sentence of 30

days’ home detention, three years’ probation, 60 hours of community service, and $500 in

restitution. Parks walked to the Capitol from the rally on the Ellipse, arrived after observing people

climbing the walls of the Capitol, entered the building and remained inside for approximately 15

minutes, and then exited when an officer told her to. Before charges were filed, Parks agreed to

an interview with law enforcement and accepted responsibility for her actions; from the outset of

her case, she expressed a desire to plead guilty. She did not post her January 6 activity on social

media. The court sentenced her to 24 months’ probation, 60 hours’ community service, and $500



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restitution. Parks provides a valid comparison insofar as she observed rioters scaling the walls of

the Capitol, although the breach observed by Parks was less violent than what Genco observed

near the Peace Circle. Parks, unlike Genco, communicated her intention to plead guilty from the

start of her case; however, the recommended term of probation for Genco is longer. More similarly

to Genco, Parks had a codefendant who took more of a leadership role with respect to Parks.

        In United States v. Gallagher, 21-cr-41-CJN, the government recommended a one-month

term of home confinement, a three-year term of probation, 60 hours of community service, a fine,

and $500 in restitution. Despite evidence around him of an ongoing riot, including the conduct of

others who threw chairs at police officers, Gallagher entered the Capitol and remained inside until

he was arrested; however, he admonished a rioter not to throw a chair and attempted to calm others.

Gallagher also demonstrated substantial contrition, consented to a voluntary interview with the

FBI, and expressed an early desire to resolve his case. Gallagher was sentenced to a term of 24

months’ probation, 60 hours of community service, and a $500 fine. In her favor, Genco never

entered the Capitol; unlike Gallagher, she did not admonish or attempt to calm other rioters, has

yet to show substantial contrition, and did not provide early notice of an interest in resolving her

case.

        In United States v. Joshua Bustle, 21-cr-238-TFH, the government recommended 30 day’s

home detention, three years’ probation, 40 hours of community service, and $500 in restitution.

Bustle entered the Capitol and remained inside for approximately 20 minutes, did not participate

in violence or destruction, and did not post his activity on social media. He expressed an early

desire to plead guilty. The court sentenced him to 30 days’ home detention, 24 months’ probation,

40 hours of community service, and $500 in restitution.




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       Alternatively, or along with the cases described above, this Court could compare cases for

defendants who never entered the Capitol, such as United States v. Griffin, 21-cr-92-TNM, where

the government recommended a sentence of 90 days’ incarceration (with credit for 20 days served),

a year of supervised release, 60 hours of community service, a fine of $1,000, and $500 in

restitution. Griffin was also a defendant who never entered the Capitol, although he differs from

Genco in other significant ways, including his failure to qualify for acceptance of responsibility

and his greater culpability. Griffin was convicted for violation of 18 U.S.C. ⸹ 1752(a)(1) following

a bench trial. Like Genco, Griffin had the chance to clearly view barricades at the Capitol (in his

case, on the day before the attack), and was well aware that its grounds were not open to the public.

On January 6, he used a metal barricade to climb a wall and gain access to the inaugural platform

on the Capitol’s lower west terrace. He declared his intention to remain until “they get this door

broken down,” remained in the restricted area for over two hours, observed property damage and

acts of violence, acknowledged that he received and violated police orders not to enter the

restricted area, expressed a lack of contrition, and questioned and mocked the court’s verdict

following his conviction. Griffin was also an elected official at the time of his offense. He received

a sentence of 14 days incarceration with credit for time served.

       In United States v. Straka, 21-cr-579-DLF, the United States recommended a sentence of

four months’ home confinement, probation for a term of three years, 60 hours of community

service, and $500 in restitution, for a defendant and social media influencer who live-streamed his

participation in the January 6 attack. Straka joined rioters after learning of the attack on the

Capitol, encouraged rioters to take an officer’s shield, shouted “go go go” as rioters approached

and then breached the Capitol building, and even after his departure from the Capitol, encouraged

rioters to “hold the line.” Straka pleaded guilty to the same offense as Genco, 40 U.S.C. §



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5014(e)(2)(D). Later, during his presentence interview, Straka expressed remorse and regret for

his actions. Straka received a sentence of 90 days in home confinement, 36 months of probation,

60 days of community service, and $500 in restitution.

       In certain respects, Genco is less culpable than the defendants discussed above. She never

entered the Capitol itself or any sensitive area. Her conduct on the Capitol grounds was that of a

follower rather than a leader. The United States has no evidence that she engaged with police

directly; she did not insult, berate, or taunt officers; consistently with the offense charged against

her, Genco did not commit violence against officers or property. The United States has no

evidence that Genco incited other members of the crowd or the public. These factors weigh in

favor of a lesser sentence.

       Other factors are more concerning.        Genco witnessed one of the earliest and most

significant breaches of the Capitol grounds—a breach which also involved significant violence

and caused serious bodily injury to at least one officer. Yet after observing this attack and police

officers’ resistance to the crowd’s incursion, Genco still chose to trespass past the scene of that

violent entry and proceed to the Capitol’s West Front. Once there, she remained for over an hour

and a half despite witnessing the repeated violence of the crowd, experiencing the dispersal of tear

gas, and hearing the commands from police to leave. Through her presence and at times through

affirmation, she supported the violent and disruptive conduct of her partner, Ryan Samsel.

Additionally, her own decision to remain with part of the mob impeded police officers and

contributed to the chaos and disruption of a continuing riot that ultimately forced the interruption

of proceedings to certify a presidential election. After witnessing rioters overwhelm another police

line at the Capitol’s West Front, Genco cheered.




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       Unlike defendants in the cases addressed above, Genco did not quickly accept

responsibility, although she has done so now, and did not express an early intention to resolve the

charges against her. Genco’s statements to Probation do not address remorse but do acknowledge

her conduct and the disruption that she caused for police.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 10.

           Conclusion

       Sentencing requires the court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Genco to 30 days of home

confinement, 36 months of probation, 60 hours of community service, and $500 in restitution. The

month of home confinement and 36 months of probation will provide a degree of supervision that

affords protection to the community, yet accounts for this defendant’s relative lack of criminal

history and culpability in what is nevertheless an unprecedented and serious offense. In light of

this defendant’s comparatively lesser role in the offense and acceptance of responsibility, and in



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light of how she compares with other defendants, the recommended sentence will promote respect

for the law. Accordingly, this Court should impose the sentence recommended herein.

                                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       On September 12, 2022, a copy of this memorandum was served upon all parties listed on

the Electronic Case Filing (ECF) System.


                                                  s/Karen Rochlin
                                                  Assistant United States Attorney Detailee




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